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                                                                                  April 28, 2025

VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101

              Re: Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz:

        In light of this Court’s order (ECF 208), we write to notify the Court about two
developments in Petitioner’s immigration proceedings. On Friday, April 25, 2025, the immigration
judge denied Petitioner’s motion to terminate the removal proceedings, based on his warrantless
arrest by the U.S. Department of Homeland Security (DHS), in violation of the Fourth Amendment
and 8 C.F.R. § 287.8(c)(2)(i). (See Exhibit A). Even though DHS did not possess a judicial or
administrative warrant permitting it to arrest Mr. Khalil—as the government has now admitted in
its opposition to the motion to terminate (ECF 210-2)—the immigration judge found that
“[t]ermination of removal proceedings is not an appropriate remedy for the harm [Mr. Khalil]
alleges.” Id. The immigration judge further found, evidently regarding the first removability
ground, that DHS had “met its burden its burden of proving by clear and convincing evidence that
Respondent is removable as charged. 8 C.F.R. §1240.8(a).” Id. The immigration judge also
scheduled an in-person hearing for May 22, 2025. (Exhibit B).

                                                   Respectfully submitted,

                                                /s/ Baher Azmy
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